                Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 1 of 51




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 PHILIP ELIADES, JONATHAN SWABY,
 JOHN BOISI, and NATHAN OBEY,

            Plaintiffs,
                                                              No. _______________
 v.
                                                              JURY TRIAL DEMANDED
 GRUBHUB INC., UBER TECHNOLOGIES,
 INC., and POSTMATES INC.,

            Defendants.


                                    CLASS ACTION COMPLAINT

           Plaintiffs, Philip Eliades, Jonathan Swaby, John Boisi, and Nathan Obey, individually and

on behalf of all others similarly situated, bring this action against Grubhub Inc. (“Grubhub”), Uber

Technologies, Inc. (“Uber”), and Postmates Inc. (“Postmates”) and allege as follows:

      I.         INTRODUCTION

           1.       Defendants have violated sections 1 and 2 of the Sherman Act and their state

analogues by exploiting, without procompetitive justification, their dominant position in the fast-

growing market for delivery and takeout through internet-based platforms that aggregate the

offerings of multiple restaurants.

           2.       Given the convenience these platforms offer, and because most restaurants face low

profit margins and the subsequent need for volume to cover their costs, the increasing popularity

of these platforms has in effect required vast numbers of restaurants to use them.

           3.       Under those conditions, Defendants require any restaurant that sells its goods on

Defendants’ platforms to pay unreasonable commissions each time a consumer orders from that
            Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 2 of 51




restaurant through Defendants’ platforms. These commissions force restaurants to charge higher

prices when they sell through Defendants’ platforms to avoid losing money on each sale.

       4.       In a freely competitive market, the restaurants would effectively offset these

increased costs by having them paid by those consumers who choose the convenience of

Defendants’ platforms. That is, absent restrictions, these restaurants would offer their customers

different prices depending on whether they used Defendants’ platforms or placed orders directly

through the restaurant.

       5.       Insulating their platforms, however, each Defendant contractually prevents the

restaurants from offering lower prices for sales outside its platform. For each Defendant, these

restrictions apply to direct orders from the restaurants for takeout, delivery, or sit-down. GrubHub

and Uber apply these restrictions most broadly by preventing restaurants from charging lower

prices for orders through similar platforms, such as DoorDash. Defendants do this because if the

restaurants were to offer lower prices for sales outside each Defendant’s platform, then such

pricing would reduce the restaurants’ sales on the platform and reduce the Defendant’s profits.

       6.       These anticompetitive agreements prevent both restaurants and other platforms

from competing with Defendants and thus force all consumers to pay supracompetitive prices. The

result of Defendants’ conduct, in short, is that any restaurant using any Defendant’s platform

charges all of its customers supracompetitive prices.

       7.       On behalf of a nationwide class of the customers of restaurants using these

platforms, Plaintiffs bring this action to enjoin and to seek redress for this unlawful conduct.




                                                  2
              Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 3 of 51




   II.         PARTIES

               a. Plaintiffs

         8.       Plaintiff Phil Eliades is a resident of New York, New York, and a citizen of New

York. Over the relevant period, he has ordered meals for takeout, delivery, and sit-down directly

from restaurants that sell their goods through each Defendant’s platform. He has also placed orders

through Restaurant Platforms from restaurants that sell through Defendants’ platforms.

         9.       Plaintiff Jonathan Swaby is a resident of New York, New York, and a citizen of

New York. Over the relevant period, he has ordered meals for takeout, delivery, and sit-down

directly from restaurants that sell their goods through each Defendant’s platform. He has also

placed orders through Restaurant Platforms from restaurants that sell through Defendants’

platforms.

         10.      Plaintiff John Boisi is a resident of Brooklyn, New York, and a citizen of New

York. Over the relevant period, he has ordered meals for takeout and sit-down directly from

restaurants that sell their goods through Grubhub and Postmates. He has also placed orders through

Restaurant Platforms from restaurants that sell through Defendants’ platforms.

         11.      Plaintiff Nate Obey is a resident of Brooklyn, New York, and a citizen of New

York. Over the relevant period, he has ordered meals for takeout and sit-down directly from

restaurants that sell their goods through Grubhub. He has also placed orders through Restaurant

Platforms from restaurants that sell through Defendants’ platforms.

               b. Defendants

         12.      Defendant Grubhub is a Delaware corporation with its principal place of business

in Chicago, Illinois. Grubhub says it “connects more than 300,000 restaurants with hungry diners




                                                  3
            Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 4 of 51




in thousands of cities across the United States and is focused on transforming the takeout

experience.” Grubhub’s 2019 revenues were $1.31 billion.

          13.     Defendant Uber is a Delaware corporation with a principal place of business in San

Francisco, California. Uber says its Uber Eats service “allows consumers to search for and

discover local restaurants, order a meal, and either pick-up at the restaurant or have the meal

delivered.” Uber’s 2019 revenues from this service were $2.5 billion.

          14.     Defendant Postmates is a Delaware corporation with a principal place of business

in San Francisco, California. Postmates says it is “transforming the way goods move around cities

through [its] revolutionary Urban Logistics platform that connects customers with local couriers

who can deliver anything from your favorite restaurant or retailer within minutes.” Postmates is

not a public company; its reported valuation is approximately $2.4 billion.

          15.     On July 6, 2020, Uber announced an agreement to acquire Postmates in a $2.65

billion all-stock takeover.

   III.         JURISDICTION AND VENUE

          16.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2) because

the matter in controversy exceeds the value of $5,000,000, exclusive of interests and costs, and is

a class action in which any member of a class of plaintiffs is a citizen of a State different from any

defendant. This Court also has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1337(a)

and 15 U.S.C. § 15.

          17.     Venue lies within this District under 15 U.S.C. § 22 and 28 U.S.C. § 1391 because

Defendants resided, transacted business, were found or had agents in this District, and a substantial

portion of the alleged activity affected interstate trade and commerce in this District.




                                                  4
           Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 5 of 51




         18.      This Court has personal jurisdiction over Defendants because this action arises out

of Defendants’ conduct in this District.

   IV.         FACTUAL ALLEGATIONS

               a. The Relevant Markets

         19.      Coupled with the already increasing frequency with which restaurants had come to

offer takeout and delivery service, the advent of the internet even further changed the food

industry. Instead of calling a restaurant to place an order for takeout or delivery, customers could

order on the restaurant’s website menu.

         20.      Defendant Grubhub was one of the first companies to build and operate an online

platform through which restaurant menus in a particular region are aggregated to allow consumers

to view available pickup or delivery options all at once.

         21.      These “Restaurant Platforms” enable consumers to search for participating

restaurants in a particular locality and order food for takeout or delivery from those restaurants.

Restaurant Platforms also deliver food for participating restaurants that do not want to provide

delivery themselves.

         22.      In aggregating the offerings of multiple restaurants in a single place, Restaurant

Platforms provide a service distinct from a restaurant’s website or app (e.g., a Domino’s pizza

app), which simply allow a consumer to place an order from a single restaurant.

         23.      Restaurant Platforms thus compete with each other in the product market for

takeout and delivery orders from Restaurant Platforms (the “Restaurant Platform Market”).

         24.      Restaurant Platforms also compete in the product market for takeout and delivery

orders from restaurants (the “Takeout and Delivery Market”). That is, by providing a channel




                                                   5
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 6 of 51




through which consumers may order takeout and delivery from restaurants, Restaurant Platforms

compete directly with the restaurants themselves for such orders.

       25.      A recent survey from Restaurant Owners indicates that more than 25% of

independent restaurants have their own delivery fleets. These restaurants could accept orders from,

and provide delivery to, consumers without any assistance from Restaurant Platforms.

       26.      In addition, as explained further below, although Restaurant Platforms do not

directly participate in the product market for sit-down meals at restaurants (the “Sit-Down

Market”), Restaurant Platforms substantially affect that market through their dealings with

restaurants. The Sit-Down Market is distinct from the Takeout and Delivery Market because, for

a consumer who wants to eat at home, a meal at a restaurant is not a reasonable substitute.

             b. The Restaurant Platform Market

       27.      Although a number of firms participate in the Restaurant Platform Market, the

market is dominated by just four firms: DoorDash, Grubhub, Uber, and Postmates.

       28.      According to data compiled by Vox, these firms control 98% of the Restaurant

Platform Market in the United States.

       29.      Vox found that, as of November 2019, DoorDash’s national share of the market

was 37%, Grubhub’s share was 31%, Uber’s share was 20%, and Postmates’ share was 10%. This

data underestimates Uber’s market share, because beginning in May 2019, some Uber Eats

transactions became indistinguishable from Uber Rides transactions.

       30.      These market shares vary significantly across metropolitan areas. As The Atlantic

has observed, Restaurant Platforms have “split their dominance regionally, like cable companies.”

Grubhub, for example, controls 67% of the market in New York City, 4.5 times as much as its

closer competitor in that market. Vox has summarized estimated shares in other markets:




                                                6
          Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 7 of 51




       31.      This result is the natural consequence not only of so-called indirect network effects,

as explained below, but also of Defendants’ anticompetitive conduct.

             c. The Business of Restaurant Platforms

       32.      Restaurant Platforms are two-sided platforms, acting as an intermediary to connect

restaurants and consumers to the benefit of both.

       33.      In its most recent 10-K, Grubhub describes its business as follows: “The Company

connects more than 300,000 restaurants with hungry diners in thousands of cities across the United

States and is focused on transforming the takeout experience.”

       34.      In its most recent 10-K, Uber similarly describes its business as follows: “Our Eats

offering allows consumers to search for and discover local restaurants, order a meal, and either

pick-up at the restaurant or have the meal delivered.”

       35.      Postmates, on its website, likewise describes itself as follows: “Postmates is

transforming the way goods move around cities through [its] revolutionary Urban Logistics

platform that connects customers with local couriers who can deliver nearly anything from your

favorite restaurant or retailer in minutes.”



                                                  7
          Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 8 of 51




       36.     Grubhub, Uber, and Postmates, like other Restaurant Platforms, not only connect

restaurants and consumers, but also derive revenue from both restaurants and consumers.

       37.     Restaurant Commission. When a customer orders from a restaurant through a

Restaurant Platform, the platform typically charges the restaurant a commission (the “Restaurant

Commission”).      The Restaurant Commission is typically equal to a rate (the “Restaurant

Commission Rate”) multiplied by the total price of the order, based on the prices—which the

restaurant typically chooses—listed on the Restaurant Platform (the “Restaurant List Price”).

       38.     If the restaurant does not provide its own delivery, the total price is the listed price

of the goods ordered (e.g., the total price of two burgers, one order of fries, and a soda). If the

restaurant does provide its own delivery, the total price is the listed price of the goods ordered plus

the delivery fees the restaurant charges.        Defendants typically charge a 30% Restaurant

Commission Rate to restaurants that do not provide their own delivery, and a lower Restaurant

Commission Rate for restaurants that do provide their own delivery and for takeout orders.

       39.     Consumer Commission. A Restaurant Platform also charges consumers a service

fee (the “Consumer Commission”). The Consumer Commission is also typically equal to a

commission rate (the “Consumer Commission Rate”) multiplied by the total listed price of the

order. The Consumer Commission Rate is typically between 5% and 10%. In some cases,

Restaurant Platforms charge no Consumer Commission Rates for orders from restaurants that

provide their own deliveries and for takeout orders.

       40.     Consumer Delivery Fee. Restaurant Platforms also typically charge the consumer

a delivery fee for orders from restaurants that do not provide their own delivery (the “Consumer

Delivery Fee”). The Consumer Delivery Fee is typically about 5%.

       41.     The following is an example of the fees the Restaurant Platforms charge:




                                                  8
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 9 of 51




                                       Scenario A:        Scenario B:       Scenario C:
                                       Restaurant         Restaurant        Takeout
                                       Platform provides provides delivery orders
                                       delivery
     Restaurant List Price                         $50.00            $50.00        $50.00
     Restaurant’s delivery price                      n/a             $2.00            n/a
     Restaurant Commission Rate                      30%               20%            15%
     Restaurant Commission                         $15.00            $10.40          $7.50
     Consumer Commission Rate                         5%                0%             0%
     Consumer Commission                            $2.50             $0.00          $0.00
     Consumer Delivery Fee                          $2.50             $0.00          $0.00
     Total Charged to Consumer                     $55.00            $52.00        $50.00
     Total Revenue for Restaurant
                                                      $20.00              $10.40              $7.50
     Platform

             d. Defendants Use MFNs to Control Restaurant Prices

       42.      Defendants have leveraged their position in the relevant markets to force restaurants

to enter into agreements that contain most-favored nation provisions (“MFNs”).

       43.      In general, MFNs imposed by a platform prohibit a supplier that sells through that

platform from charging lower prices when that supplier sells through other channels. MFNs may

be broadly categorized as “narrow” or “wide.” In a “narrow MFN,” the platform prohibits the

supplier from selling its goods at a lower price when the supplier sells to consumers directly, as

opposed to through the platform or some other non-direct channel. In a “wide MFN,” the platform

prohibits the supplier from selling its goods at a lower price when the supplier sells through any

channel other than through the platform.

       44.      Postmates imposes narrow MFNs on restaurants that sell through Postmates.

Postmates’s MFN states: “Pricing shall be consistent with Merchant’s in-store pricing.” That is,

“Postmates insists on price parity between in-store and online menus.”

       45.      As a result, any restaurant that sells goods through Postmates is contractually

prohibited from selling those goods at a lower price to consumers who purchase directly from that

restaurant, regardless of whether the meal is for takeout, delivery, or sit-down, and regardless of


                                                  9
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 10 of 51




whether that meal was ordered online, by phone, or in person. The restaurant may, however,

charge a lower price when it sells its goods through a competing platform, such as Doordash.

       46.     Grubhub and Uber both impose wide MFNs. These provisions prohibit restaurants

from selling at lower prices directly to consumers (regardless of whether the meal is for takeout,

delivery, or sit-down, and regardless of whether that meal is ordered online, on the phone, or in

person); or to consumers through any competing Restaurant Platform. In short, for a restaurant

that sells through Grubhub or Uber, the restaurant’s Restaurant List Price is the lowest price the

restaurant is permitted to charge.

       47.     Grubhub’s MFN states: “The item pricing must be at least as favorable to the

consumer as that which is available for Restaurant’s standard menu or offered to any 3rd party

service.” Consistent with this provision, Grubhub boasts (in its 2019 10-K) that it offers “menu

price parity with any other online ordering option.”

       48.     Uber’s MFN states: “Merchant may not make any Item available to Customers

through the Eats App at a price that is higher than the price that Merchant charges in-store for

similar Items. Merchant agrees that you will not make an Item available under this Agreement at

a price higher than the amount Merchant is charging for similar Items through any comparable

platform for food delivery services.”

       49.     The Restaurant Platform industry as a whole demonstrates that Defendants’ MFNs

are not necessary. Doordash, for example, does not impose these restrictions on restaurants that

sell through its platform. Public reporting on Doordash highlights this distinction:

               “For a very long time GrubHub forced stores to sell at the exact same
               menu price that they offered in store – exactly what you’re
               mentioning. But then DoorDash came out and said, ‘Hey restaurant,
               you do whatever you want for your pricing, if you want to sell it on
               DoorDash at 10%, 15% higher, so forth.’ So, lot[s] of restaurant




                                                10
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 11 of 51




                clients really liked DoorDash as they could increase their prices to
                recover commission costs.”

       50.      A 2016 Bloomberg article similarly reported: “An explanation for DoorDash’s

price discrepancies can be found in a support document within the help section of the company’s

website. It says partner restaurants may choose to charge customers more to make up for

commissions paid to the delivery company.”

       51.      Defendants’ MFNs have forced consumers who purchase from restaurants directly

or from other Restaurant Platforms to pay supracompetitive prices; have enabled Defendants to

continue offering subpar technology and service; and have caused Restaurant Commission Rates

to increase to such a degree that restaurants have been forced out of business. Defendants’ MFNs

are anticompetitive and do not have any procompetitive justification.

             e. Competition in the Restaurant Platform Market

       52.      Restaurant Platforms compete with each other for both delivery and takeout orders.

For an order to occur, a Restaurant Platform needs to match a consumer and a restaurant. As a

result, in competing for orders, Restaurant Platforms compete with each other for both consumers

and restaurants.

       53.      Restaurant Platforms exhibit indirect network effects, in that the value that they

offer to one side of the platform is a function of the extent of the use of the other side of the

platform. A Restaurant Platform that more consumers use is more valuable to restaurants, because

the platform connects those restaurants with more consumers. Conversely, a Restaurant Platform

that more restaurants use is more valuable to consumers, because that platform connects those

consumers to more restaurants.

       54.      These indirect network effects thus create a positive feedback loop for a market-

leading Restaurant Platform. A Restaurant Platform that is popular with consumers is more



                                                11
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 12 of 51




attractive to restaurants and will therefore succeed in attracting more restaurants to the platform.

Once more restaurants agree to use the platform, the platform becomes even more attractive to

new consumers, who will also use that platform.

       55.     In producing significant benefits to a market-leading Restaurant Platform, however,

this positive feedback loop imposes significant barriers for smaller firms and new entrants. A

small or new entrant cannot reasonably compete with larger Restaurant Platforms unless it can

offer consumers a sufficient number of restaurants from which to choose. Conversely, the small

or new entrant cannot realistically attract restaurants unless it can provide those restaurants with

access to a sufficient number of consumers. Indirect network effects thus simultaneously make it

easier for a market-leading firm to maintain its dominance and more difficult for a new entrant or

smaller firm to establish a foothold.

       56.     Even Amazon, for example, was unable successfully to break into the Restaurant

Platform Market. As the New York Times explained: “Since it started in Seattle in 2015, Amazon

Restaurants has struggled to gain a foothold in the restaurant delivery market,” where “nearly 80

percent” of the market is controlled by “UberEats, Grubhub and DoorDash.” Accordingly, in June

2019, Amazon Restaurants shut down.

       57.     Indirect network effects alone, however, do not necessarily preclude new entrants

or smaller firms from taking market share away from a market-leading firm. For example, one

journalist explained that DoorDash was able to take market share away from Grubhub by

expanding the services that it offered.

               Grubhub’s original model was a marketplace for consumers to order
               food from independent restaurants that already had their own
               delivery fleets. Though this was a game-changer for consumers, it
               constrained supply to only listing restaurants that could perform
               their own deliveries. This was a mistake.




                                                12
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 13 of 51




              Postmates and DoorDash were the first to realize that if they could
              provide the broader group of restaurants that did not do delivery with
              the ability to do deliveries, they could dramatically increase the
              number of restaurants that could exist in the marketplace, thereby
              leapfrogging Grubhub’s selection (and liquidity).

              Once they realized this Achilles heel, Postmates and DoorDash
              raced to exploit the vulnerability with a growth-at-all costs
              mentality. Grubhub was caught backfooted. Grubhub thought that
              they had saturated the market, but they had only saturated a
              subsection of the market—independent restaurants that made their
              own deliveries. Meanwhile, DoorDash, Postmates, Uber Eats, and
              all other food delivery startups were racing to capitalize on the
              newer, bigger definition of the category.

       58.    In addition to increasing the size of the market, Restaurant Platforms have also

sought to gain and protect their market shares in a number of other ways.

       59.    On the restaurant side, Restaurant Platforms have sought to prevent competitors

from signing up additional restaurants by entering into exclusive agreements with those

restaurants. For example, Grubhub has an exclusive deal with Yum Brands, DoorDash has an

exclusive deal with Chili’s and the Cheesecake Factory, and Uber used to have an exclusive deal

with McDonald’s.

       60.    On the consumer side, Restaurant Platforms have sought to discourage consumers

from using more than one Restaurant Platform, or “multihoming,” by offering what are essentially

volume discounts.

       61.    Restaurant Platforms could also compete by offering consumers and restaurants

better technology or better service, by offering restaurants lower Restaurant Commission Rates,

and by offering consumers lower Consumer Commission Rates. Defendants’ conduct, however,

including their MFNs, has limited such forms of competition.




                                               13
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 14 of 51




             f. Competition in the Takeout and Delivery Market

       62.      The restaurant industry is notoriously competitive and dynamic. In 2018, there

were approximately 650,000 restaurants in the United States, with about 60,000 opening and

50,000 closing every year. As this turnover indicates, the profit margins of restaurants are typically

thin. According to Upserve, a company that provides restaurant-management software, restaurant

profit margins generally range from 0% to 15%. Because of these thin profit margins, restaurants

generally need a significant number of sales to cover their fixed costs.

       63.      Restaurants generate revenue by selling through both the Takeout and Delivery

Market and the Sit-Down Market.          Over the past several years, an increasing number of

restaurants’ takeout and delivery sales have been placed through Restaurant Platforms. Analysis

from Cowen indicates that the share of delivery orders placed online increased from approximately

26% in 2012 to 46% in 2017, with the prediction that they would rise to 73% by 2022. Morgan

Stanley’s research indicates that much of this growth occurred, and will continue to occur, on

Restaurant Platforms: the proportion of online delivery orders through Restaurant Platforms

increased from 41% in 2015 to 68% in 2018. Morgan Stanley projects that this number will

increase to 87% by 2025.

       64.      These market conditions mean that restaurants must work with Defendants, which

each have a significant share of the fast-growing Restaurant Platform Market, to generate sufficient

sales to turn a profit. As one restaurant owner has explained: “These delivery companies were

never something I wanted to work with, but we have to. . . . We are a fast-casual restaurant. We

are dependent upon volume to make any money.” Another restaurant owner explained to Forbes:

“These platforms are growing exponentially and have developed a primary relationship with




                                                 14
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 15 of 51




customers. They are not providing a service; they are growing a network. If you ‘own’ the

customer, you can charge whatever you want, which is what they are doing.”

        65.    These are not mere anecdotes. The New York Times has explained that Restaurant

Platforms are so popular with consumers that “few restaurants can afford to opt out.” Buzzfeed

News has explained that restaurants “have no choice to use them if they want to retain customers.”

Food & Wine has concluded: “Most restaurant owners don’t feel like they have a choice but to

work with these platforms to survive.”

        66.    Accordingly, the best estimate is that the vast majority of the 650,000 restaurants

in the United States sell through Restaurant Platforms. Analysis from Money Under 30 indicates

that 300,000 of these restaurants sell through Grubhub and 600,000 sell through Postmates, and

that over 300,000 restaurants worldwide sell through Uber. Data from Reuters indicates that over

100,000 restaurants sell through Uber in the United States and Canada, and confirms that 300,000

restaurants in the United States sell through Grubhub.

        67.    Analysis from Thinknum shows that, in some markets, Restaurant Platforms have a

stranglehold on restaurants. In New York City, nearly 60% of restaurants sell through Grubhub;

in Chicago, approximately 85% of all restaurants sell through Grubhub; and in Las Vegas and San

Francisco, nearly all restaurants do so:

 City                     Total Restaurants         Restaurants on            Restaurants on
                                                    Grubhub                   Uber
 New York                                  26,697                    15,074                    3,056

 Los Angeles                               29,560                     7,531                    2,216

 Chicago                                    8,675                     7,319                    2,323

 Houston                                   10,000                     4,803                      n/a

 Las Vegas                                  4,364                     4,246                      n/a



                                                    15
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 16 of 51




 San Diego                                7,000                     4,161                       n/a

 San Francisco                            4,015                     3,935                       n/a

 Philadelphia                             6,000                     3,913                       n/a

 Miami                                    4,995                     3,726                       n/a



Although data for Uber is more limited than data for Grubhub, it is reasonable to infer that more

restaurants use Uber in markets where Uber’s sales exceed Grubhub’s, such as Miami and

Houston. As a result, it is likely that more than 75% of restaurants in Miami and more than 48%

of restaurants in Houston use Uber. These estimates for Uber use in New York, moreover, do not

appear to include restaurants outside Manhattan.

       68.      Data for Postmates is not publicly available, but the analysis from Money Under 30

indicates that even more restaurants use Postmates than Grubhub or Uber. This conclusion is even

stronger in markets where more restaurants use Postmates than Grubhub.

       69.      In any event, it is reasonable to infer that in Los Angeles, a market where Postmates

outsells Grubhub two-to-one, more restaurants use Postmates than Grubhub. The same is true with

respect to Miami, where Postmates’ sales also exceed Grubhub’s. As a result, it is likely that

substantially more than 25% of restaurants in Los Angeles and more than 75% of restaurants in

Miami use Postmates.

       70.      With respect to restaurants that offer delivery (a subset of all restaurants), the

percentage that sell through Restaurant Platforms is even higher. According to a survey from

Restaurant Owner, for example, in 2019 almost 80% of independent restaurants that offered

delivery did so through a Restaurant Platform.




                                                  16
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 17 of 51




       71.     The market conditions are such that even restaurants that do not agree to work with

Restaurant Platforms are forced to deal with them, in that Restaurant Platforms have added some

restaurants to their platforms without their consent. One restaurant owner described her experience

with Grubhub as follows:

               “If we don’t sign up for this ‘partnership’ you pirate our menus off
               our website and take orders from customers anyway,” continues
               Wade in the letter. “The pre-charged payment cards sometimes
               don’t work and everything we made languishes, unpaid for. We
               field angry calls from customers who think it’s our fault they didn’t
               get the food they ordered. When my manager called customer
               service to tell you how unfair it is that we are paying for your
               mistakes, he was told ‘Well, none of this would happen if you would
               just sign up with us.’ Which sounds a lot like what the mob boss
               says after they burn down your house.”

       72.     In addition to having to work with them, restaurants are also forced to compete with

these Restaurant Platforms in the Takeout and Delivery Market. As Grubhub observes, its

competitors include “the traditional offline ordering process used by the vast majority of

restaurants” and “online competition” from “national and local service providers, point-of-sale

module vendors that serve some independent restaurants who have their own standalone websites

and the online interfaces of Enterprise restaurants that also offer takeout.”

       73.     Grubhub’s conduct further confirms that it competes with restaurants for orders.

Grubhub has created “shadow” websites for restaurants that consumers can use to place orders.

These shadow websites, which may appear to be restaurants’ actual websites, are designed to divert

what would otherwise be direct orders from restaurants to Grubhub. Uber likewise has stated (in

its 2019 10-K) that its competitors include both other Restaurant Platforms and restaurants.

       74.     Unsurprisingly, sales through Restaurant Platforms have cannibalized restaurants’

direct sales. For example, a New York City Hospitality Alliance survey indicates that, for 2 out




                                                 17
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 18 of 51




of 3 restaurants, customers who previously ordered directly now order through Grubhub. As The

New Yorker has explained:

                Companies like GrubHub maintain that the revenue they bring
                restaurants is “incremental”—the cherry on top, so to speak, of
                whatever sales the place would have done on its own. They also
                argue that delivery orders are a form of marketing, exposing
                potential new customers who might convert to lucrative in-
                restaurant patrons. The problem is that as consumers use services
                like Uber Eats and Seamless for a greater share of their meals,
                delivery orders are beginning to replace some restaurants’ core
                business instead of complementing it. . . . And, as delivery orders
                replace profitable takeout or sit-down sales with less profitable
                ones—ostensibly giving restaurants business but effectively taking
                it away—the “incremental” argument no longer holds. “It’s total
                bullshit, and you can quote me on that,” Justin Rosenberg, the
                C.E.O. of the Philadelphia-based fast-causal chain Honeygrow, told
                me. “I’ve spoken to C.F.O.s of bigger fast-casuals, and they’ve said
                the same thing.”

In other words, orders that used to flow to restaurants directly, for which restaurants did not have

to pay any commissions to Restaurant Platforms, now flow to the Restaurant Platforms.

             g. Competition in the Sit-Down Market

       75.      In addition to competing for orders in the Takeout and Delivery Market, restaurants

also compete for sales in the Sit-Down Market.          Based on data from Restaurant Owner,

approximately 60% of restaurants offer delivery (either themselves or through a Restaurant

Platform) and thus compete in both markets.

       76.      Sales in the Sit-Down Market are more profitable to restaurants than sales in the

Takeout and Delivery Market. As Thanx, a company specializing in customer engagement, has

concisely stated, “Delivery profit margins aren’t as high as dine-in margins.” This is because

“[c]ustomers usually skip drinks when ordering in, which automatically cuts profits. Plus, labor,

packaging, and delivery fees are all higher, which eats into the profits.” CNN has likewise

explained that consumers are “less likely to ask for menu items that carry higher margins—



                                                18
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 19 of 51




including soda and alcoholic drinks—when they order in, cutting deeper into profit from delivery.”

And the Wall Street Journal has noted that “[d]elivery and packaging fees take a big cut of

restaurant profits, and deliveries often don’t include beverages, which provide high margins.”

       77.     Sales in the Sit-Down Market are thus essential for a restaurant’s survival, but

Restaurant Platforms have jeopardized those sales. Restaurant Platforms do not compete in the

Sit-Down Market, but they have nevertheless cannibalized sales in that market. Research from

Morgan Stanley indicates that, in 2017, “43% of consumers who ordered food for delivery say it

replaced a meal at a restaurant.” And according to the NPD Group, since 2014, “total visits to

restaurants have declined more than 700 million visits.”

       78.     Restaurant owners tell a similar story. The New York Times provides an example:

               The major delivery companies have long argued that apps expose
               restaurants to new customers, allowing small businesses to tap into
               a network of tens of millions of online users and to benefit from the
               advertising muscle of multibillion-dollar companies. Katie Norris,
               a Grubhub spokeswoman, said the service drove “incremental
               sales”—bringing in customers who would otherwise stay home and
               cook.

               “The incremental sales and traffic with higher average checks more
               than offset commission rates,” she said.

               But that has not been the experience of Anil Bathwal, who runs the
               Kati Roll Company, a New York-based chain specializing in Indian
               street food.

               Mr. Bathwal did not have a large-scale delivery operation when his
               chain signed up with Seamless, and he said the service had initially
               brought him new business. But over the years, third-party delivery
               has grown to account for as much as 30 percent of his sales, as
               existing customers—those who used to eat at the restaurant—have
               started using Seamless instead.

               “As time goes by, more and more of my existing customers are being
               cannibalized,” said Mr. Bathwal, who estimates the delivery service
               has reduced his overall profits by 2 to 5 percent.




                                                19
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 20 of 51




Considering this juxtaposition between Restaurant Platforms’ promises to restaurants of more

orders and the reality that the platforms cannibalize restaurants’ sit-down business, one New York

City councilman has characterized Restaurant Platforms as a “trojan horse” for restaurants.

             h. Geographic Markets

       79.      The relevant geographic markets regarding Defendants’ conduct are both the

nationwide market (the “National Market”) and the local markets described below, because

Restaurant Platforms compete in the Restaurant Platform Market and the Takeout and Delivery

Market throughout the United States, at both the national and local level. Defendants’ conduct

also affects and is directed at restaurants in the Sit-Down Market in these geographic markets.

       80.      Restaurant Platforms advertise their services nationwide; operate nationwide;

charge restaurants the same Restaurant Commission Rates nationwide; charge the same Consumer

Commission Rates nationwide; provide the same services nationwide; and impose the same

contractual restrictions—including, with respect to Defendants, the same MFNs—on restaurants

and consumers nationwide.

       81.      Restaurant Platforms compete with national restaurant chains in the Takeout and

Delivery Market. They also compete with each other nationally in the Restaurant Platform Market

and the Takeout and Delivery Market, to build a national network of consumers to offer

restaurants, and a national network of restaurants to offer consumers. Grubhub asserted in its most

recent 10-K, for example, that its acquisition of Eat24 “expanded the breadth and depth of [its]

national network of restaurant partners and active diners.”

       82.      Restaurant Platforms also compete locally in the Restaurant Platform Market and

the Takeout and Delivery Market. In particular, Restaurant Platforms compete with each other

and restaurants for delivery and takeout orders from consumers. Such competition is local because




                                                20
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 21 of 51




a consumer in one city is highly unlikely to order food through a Restaurant Platform from a

restaurant in a far-away city. To take an obvious example, for a consumer located in New York

City, a takeout order from a restaurant in San Francisco is not a reasonable substitute for a takeout

order from a restaurant in New York City.

       83.      Although Restaurant Platforms thus compete with each other and restaurants in a

nationwide market, the local markets in which they also compete (the “Local Markets”) include

New York City, Los Angeles, Chicago, Dallas-Fort Worth, Houston, Washington, Miami,

Philadelphia, Atlanta, Boston, Phoenix, and San Francisco.

             i. Defendants’ Market Power

       84.      Defendants’ High Market Shares. Defendants’ high market shares evidence their

market power in the Restaurant Platform Market. Grubhub’s market share is 31% nationwide and

67% in New York City. Uber’s market share is at least 20% nationwide and much higher in some

markets, such as Miami, where its market share is at least 55%. Postmates’ market share in Los

Angeles, the second-largest city in the United States, is 37%.

       85.      Defendants’ Network of Restaurants. With respect to the Takeout and Delivery

Market and the Sit-Down Market, Defendants’ market power is demonstrated by the sheer number

of restaurants that have no choice but to sell through Defendants’ platforms. Nearly half of all

restaurants in the United States sell through Grubhub, and a much larger share of restaurants that

offer delivery do so through Grubhub. Similarly, more than 15% of restaurants in the United

States—including restaurants that do not even offer delivery—sell through Uber. The data suggest

that even more restaurants sell through Postmates than through Grubhub or Uber.

       86.      The numbers are even more striking in certain large Local Markets, such as New

York City (nearly 60% of all restaurants sell through Grubhub), Chicago (approximately 85% of




                                                 21
          Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 22 of 51




all restaurants sell through Grubhub), Philadelphia (approximately 65% of all restaurants sell

through Grubhub), Miami (more than 75% of all restaurants sell through Uber), Houston (more

than 48% of restaurants sell through Uber), and Los Angeles (substantially more than 25% of all

restaurants sell through Postmates).

        87.       Defendants’ Supracompetitive Pricing for Restaurants. Defendants’ ability to

charge supracompetitive prices to restaurants without losing them as customers and without losing

out on profit further demonstrates their market power in the relevant markets.

        88.       Defendants charge a Restaurant Commission Rate between 15% and 30%,

depending on the service being offered (e.g., takeout, delivery orders that the restaurant delivers,

or delivery orders that the platform delivers). When Defendants provide delivery, they typically

charge 30% Restaurant Commission Rates. Uber charges restaurants 15% Restaurant Commission

Rates even for customers who order only for pickup. Similarly, Grubhub’s own advertising

material indicates that restaurants that rely on Grubhub for delivery can expect to pay more than

33% Restaurant Commission Rates. And even in the face of legislation that prohibits Restaurant

Platforms from charging Restaurant Commission Rates exceeding 15% during the COVID-19

pandemic, Postmates has reportedly “continue[d] to charge restaurants between 20 and 33 percent

of each order.”

        89.       Defendants were not always able to charge such high prices. Instead, as Restaurant

Platforms have become more essential to restaurants’ very survival, and as their share of the

Takeout and Delivery Market has increased, Restaurant Platforms have substantially increased

their prices.

        90.       Restaurant Platforms initially charged Restaurant Commission Rates between 10%

and 12%. When it started in 2004, for example, Grubhub charged a 10% Restaurant Commission




                                                  22
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 23 of 51




Rate. By 2015, Restaurant Platforms were “reportedly” charging Restaurant Commission Rates

“as large as 18%.” By that point, as noted, over 40% of online delivery orders were being placed

through Restaurant Platforms. The following year, 2016, Grubhub charged between 12% and

24%, still significantly less than the current rate, but also much more than its initial 10% rate.

       91.     With 80% of online delivery orders now placed through Restaurant Platforms,

however, Defendants’ Restaurant Commission Rates today are approximately 30%, or triple what

they were initially. Basic principles of economics suggest that a firm that triples its price should

lose revenue as consumers flock to lower-price competitors. But Defendants’ price increases have

not resulted in Defendants losing market share or losing profit.

       92.     Over the period from 2016 to 2019, Grubhub’s revenue increased from

approximately $500 million to over $1.3 billion. Uber’s revenue from its Uber Eats brand more

than quadrupled between 2017 and 2019.

       93.     Defendants have been able to substantially raise prices without losing customers or

profit because, as explained above, market conditions compel restaurants to work with them.

Although they evidently have chosen to work with Grubhub, for example, over 90% of restaurants

believe that Grubhub’s fees are “unreasonable.”

       94.     Defendants’ Supracompetitive Pricing for Consumers.            Defendants’ ability to

charge supracompetitive prices to consumers further demonstrates their market power. The New

York Times has found, for example, that the markup for delivery orders through Defendants’

Restaurant Platforms ranged from between 25% to 91%. The author aptly characterized these

prices as “downright egregious.”




                                                 23
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 24 of 51




       95.      Defendants’ MFNs. Defendants’ ability to impose their MFNs on restaurants also

demonstrates their market power. These provisions, as explained just below, harm restaurants by

limiting their ability to compete with Defendants.

       96.      Defendants’ Ability to Control Prices. Combined with the significant number of

restaurants that are forced to accept Defendants’ MFNs and the supracompetitive Restaurant

Commission Rates that Defendants charge, these MFNs enable Defendants to control, or at

minimum substantially affect, the prices charged by restaurants in the Takeout and Delivery

Market and the Sit-Down Market.

             j. Anticompetitive Purpose and Effects of Defendants’ MFNs

                    i. Grubhub and Uber’s MFNs Prevent Restaurant Platforms from
                       Competing on Price and Insulate Them from Competition

       97.      Grubhub and Uber’s MFNs limit price competition in the Restaurant Platform

Market by fixing a key (and, in some cases, the only) component of the end-price paid by

consumers for goods ordered through Restaurant Platforms, and by removing a powerful incentive

for Restaurant Platforms to reduce Restaurant Commission Rates.

       98.      Grubhub and Uber’s MFNs, as explained above, prohibit restaurants from listing

their menu items on competing platforms for a lower price. This restriction is not trivial,

“especially since many restaurants feel the need to list on more than one app.” Grubhub thus

recently touted that it offers “menu price parity with any other online ordering option.”

       99.      Given that Restaurant Platforms exhibit indirect network effects, as also explained

above, Restaurant Platforms must attract a sufficient number of consumers and restaurants in order

to survive. Ordinarily, like any platform, a Restaurant Platform could attract consumers by

offering them lower prices—that is, lower Restaurant List Prices.          Likewise, ordinarily, a




                                                24
        Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 25 of 51




Restaurant Platform could attract restaurants by offering them lower prices—that is, lower

Restaurant Commission Rates.

       100.   Absent Grubhub and Uber’s MFNs, a competing Restaurant Platform could thus

attract consumers by offering restaurants lower Restaurant Commission Rates to induce those

restaurants to provide lower Restaurant List Prices. For example, a restaurant may be willing to

offer a lower Restaurant List Price to a Restaurant Platform that charges a 15% Restaurant

Commission Rate, instead of a 30% Restaurant Commission Rate (like Defendants).

       101.   If successful, this pricing strategy would make the competing platform more

attractive to consumers because it would provide them with lower Restaurant List Prices, which

are a key component of the end-price that they pay for delivery and takeout orders. In fact, for

orders for which Restaurant Platforms do not charge delivery fees or commissions to consumers,

Restaurant List Prices are the end-prices that consumers pay. Accordingly, reducing that price

would draw more consumers to the platform.

       102.   This pricing strategy would make the platform more attractive to restaurants as

well, because it would provide them with lower Restaurant Commission Rates. All else equal, a

restaurant would prefer to sell on a Restaurant Platform that charges a 15% Restaurant

Commission Rate as opposed to a Restaurant Platform that (like Defendants) charges a 30%

Restaurant Commission Rate.

       103.   Grubhub and Uber’s MFNs, however, eliminate even the possibility of a competing

platform engaging in this strategy. Because these MFNs prohibit restaurants from providing

competing platforms with lower Restaurant List Prices, competing platforms have no incentive to

offer restaurants lower Restaurant Commission Rates to induce those restaurants to lower their

Restaurant List Prices. Grubhub and Uber’s MFNs thus discourage competing platforms from




                                              25
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 26 of 51




reducing their Restaurant Commission Rates. For this reason, Restaurant Commission Rates are

essentially uniform (30%) among the largest Restaurant Platforms.

       104.    At the same time, Grubhub and Uber’s MFNs create an incentive for Grubhub and

Uber to continually increase their Restaurant Commission Rates, as they have over the past fifteen

years. By increasing their Restaurant Commission Rates, Grubhub and Uber can increase their

revenue without any concern that consumers will flee to a competing platform with lower

Restaurant List Prices.

       105.    The most fundamental and anticompetitive feature of Grubhub and Uber’s MFNs

is that they prevent a restaurant from choosing—for any reason—to charge a lower Restaurant

List Price on a competing platform. As a result, Grubhub and Uber’s MFNs flatly eliminate

competition among Restaurant Platforms on Restaurant List Prices, thereby preventing competing

platforms from offering lower Restaurant List Prices to consumers. For many consumers, as noted,

Restaurant List Prices are the end-prices consumers pay. Grubhub and Uber’s MFNs thus

effectively fix the end-price that consumers pay when they order through Restaurant Platforms.

       106.    Grubhub and Uber’s MFNs thus serve to insulate Defendants from competition on

both sides of the market, by fixing the Restaurant List Price, which is a key component of the price

paid by consumers, and by discouraging competing Restaurant Platforms from offering lower

Restaurant Commission Rates.       This insulation has enabled Grubhub and Uber to hike up

Restaurant Commission Rates, forcing consumers and restaurants alike to pay higher prices,

without fear of being undercut by competing Restaurant Platforms. Without the ability to offer

lower Restaurant List Prices, competing platforms are blocked from creating the positive feedback

loop needed to survive in the Restaurant Platform Market because they lose the primary (and to

many consumers, only) means of attracting consumers to their platform and as a result are unable




                                                26
            Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 27 of 51




to attract more restaurants. Anyone with an understanding of the market is unlikely to even attempt

to enter.

        107.    This is an intended and predictable consequence of Grubhub and Uber’s MFNs. As

the Yale Law Journal has reported: “The leading theoretical analysis by economists Andre Boik

and Kenneth Corts finds that platform MFNs lead to higher platform fees, drive up retail prices,

and discourage entry by firms with lower cost business models.”

        108.    In addition to enabling Grubhub and Uber to increase Restaurant Commission

Rates, this insulation resulting from Grubhub and Uber’s MFNs has also stalled technological

development in the Restaurant Platform Market. Tech Crunch has reported, for example, that “the

primary differentiation between delivery apps today is not based on innovations that meaningfully

impact user experience.” The Tribeca Citizen, in an article titled “Why Restaurants Hate GrubHub

Seamless,” characterized the state of technology in the Restaurant Platform Market as follows:

“The technology stinks.” By 2016, Grubhub “still [hadn’t] found a way to integrate their current

technology into restaurant point-of-sale systems—or even a single tablet.”

        109.    Similarly, Grubhub and Uber offer abysmal service to restaurants.          As the

Washington Post recently explained: “Virtually every restaurant person has a nightmare story

about the apps botching their menus and hours of operations.” One survey indicated that less than

10% of responding restaurants had “a positive experience with Grubhub/Seamless.”

        110.    Grubhub and Uber perform no better for consumers. According to SiteJabber, a

website that allows consumers to rate businesses, Grubhub “ranks 95th among Food Delivery

sites,” with an average “rating of 1.18 stars from 2,666 reviews.” Uber is only slightly better—it

“ranks 73rd among Food Delivery sites,” with an average “rating of 1.76 starts from 21 reviews.”

These overwhelmingly negative reviews are hardly shocking in light of recent survey results that




                                                27
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 28 of 51




show that more than 25% of delivery drivers for Restaurant Platforms have sampled customers’

food before delivering it.

                   ii. Defendants’ MFNs Preclude Restaurants from Competing on Price with
                       Defendants in the Takeout and Delivery Market

       111.    While only Grubhub and Uber restrict price competition across Restaurant

Platforms, all of Defendants’ MFNs have both the purpose and effect of precluding restaurants

from competing directly on price with Defendants in the Takeout and Delivery Market.

       112.    Defendants’ MFNs prohibit restaurants from selling menu items at a lower price to

consumers who order directly from restaurants, regardless of whether those orders are for takeout,

delivery, or sit-down, and regardless of whether those orders are made online, in person, or over

the phone. Under these MFNs, for example, a restaurant that lists an item on Defendants’ platform

for $10 is contractually prohibited from selling that item for $9 to a consumer who calls the

restaurant to order that item for takeout.

       113.    It is easy to see why a restaurant would want to charge consumers who order

directly from the restaurant lower prices than consumers who order through Defendants’ platforms.

After all, whenever a restaurant sells an item through Defendants’ platforms, that restaurant must

pay Defendants a hefty Restaurant Commission Rate. In fact, Defendants’ Restaurant Commission

Rates often exceed restaurants’ profit margins. As a result, restaurants cannot make any money

selling through Defendants’ platforms unless restaurants increase the prices of their menu items.

       114.    With respect to Uber and its 30% Restaurant Commission Rate, for instance,

Forbes has explained as follows:

               The problem here is that the average profit margin for a restaurant
               is under 30%. Fast food such as McDonalds reported profit margins
               about 22% in 2017. Casual dining or family style restaurants have
               a profit margin between 5% to 10%. Lastly, full-service restaurants
               such as fine-dining have average profit margins of about 6.1%.



                                               28
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 29 of 51




               Based on the average profit margins above, every restaurant that
               engages Uber Eats will lose money on every order they take. The
               more orders coming from Uber Eats, the more money a restaurant
               would lose.

       115.    The natural and predictable result of Defendants’ MFNs is that restaurants must

increase their prices when they sell on Defendants’ platforms. For example, the New York City

Hospitality Alliance found that, in 2019, 64.1% of restaurants either raised menu prices or

considered raising menu prices to offset fees from Grubhub. Restaurant Business says:

               When the Habit Burger Grill began offering delivery to its
               customers last year, the company did something a bit different.

               It upcharged delivery orders by 25%.

               “At the end of the day, with the commission structures the way they
               are, someone has to pay for that convenience,” CEO Russ Bendel
               said on an upcoming episode of Restaurant Business’ podcast, “A
               Deeper Dive.”

               It’s an increasingly common strategy. Chains, eager to jump on
               board to an increasingly popular service but worried about the
               impact such fees can have on their business, have started charging
               delivery customers higher prices.

Tech Crunch interviews with restaurant owners likewise indicate that many restaurants “increase

on-app list prices when selling through delivery apps as a way of offsetting the up to 30% fee the

delivery apps charge.”

       116.    This strategy of increasing “on-app list prices when selling through delivery apps”

is unavoidable for any restaurant with profit margins below Defendants’ Restaurant Commission

Rates. For example, a restaurant with a 10% profit margin can ordinarily make $2 whenever it

sells $20 in food. But if the restaurant is also forced to pay a 30% Restaurant Commission Rate

on top of its existing costs, then the restaurant would lose $4 whenever it sold the same items for




                                                29
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 30 of 51




$20. Just to break even, the restaurant would need to increase its prices from $20 to $26. To make

the same $2, the restaurant would have to increase its prices from $20 to $29.

       117.    Defendants’ Restaurant Commission Rates thus force restaurants to increase the

prices of items listed on Defendants’ platforms.      Compounding the anticompetitive effect,

Defendants’ MFNs force restaurants to charge consumers who buy directly from restaurants, or

through a competing Restaurant Platform, those same inflated prices.

       118.    In sum, coupled with their exorbitant Restaurant Commission Rates, Defendants’

MFNs prevent restaurants from charging consumers who buy directly from restaurants (or through

competing Restaurant Platforms) lower prices, even though restaurants would charge lower prices

to consumers who buy directly from restaurants (or through competing Restaurant Platforms) but

for Defendants’ MFNs. In short, the MFNs force consumers to pay higher prices.

       119.    The impact of Defendants’ MFNs in the Takeout and Delivery Market is not limited

to increased prices for consumers. These MFNs, as noted, have insulated Defendants from

competition and enabled them to increase their Restaurant Commission Rates with impunity.

These rates are so high that they are driving many restaurants out of business, thereby reducing

consumer choice. As the New York Times has reported:

               For Paul Geffner, the growing popularity of food-delivery apps has
               hurt. He has run Escape from New York Pizza, a small restaurant
               chain in the Bay Area, for three decades, relying on delivery orders
               as a major source of revenue.

               After he offered delivery through the apps in 2016, his business
               teetered. Two of his five pizzerias, which together had generated
               annual profits of $50,000 to $100,000, lost as much as $40,000 a
               year as customers who had ordered directly from Escape From New
               York switched to the apps. That forced Mr. Geffner to pay the
               commissions.




                                               30
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 31 of 51




                “We saw a direct correlation between the delivery services and the
                reduction of our income,” Mr. Geffner said. “It was like death by a
                thousand cuts.”

NPR provides a similar example: “With already thin profit margins further diluted by the app fees,

Bathwal could not justify keeping his six locations open. He temporarily shuttered all of his

restaurants with hopes of reopening, when he can, on a pared-down menu emphasizing items that

are the most affordable to make.”

                   iii. Defendants Use Their MFNs to Control Prices in the Takeout and
                        Delivery Market and Sit-Down Market

       120.     According to the publicly available data, as noted, the vast majority of restaurants

in the United States sell their products through Defendants’ platforms. Almost half of these

restaurants sell through Grubhub nationwide, and in many cities—including New York, Chicago,

Las Vegas, San Diego, San Francisco, Philadelphia, and Miami—more than half sell through

Grubhub.      The more limited data available for Uber indicates that approximately 30% of

restaurants in Chicago, more than 48% of restaurants in Houston, and approximately 75% of

restaurants in Miami sell through Uber. At least 25% of restaurants in Los Angeles, as a further

example, sell through Postmates. And all of these percentages are significantly higher with respect

to restaurants in the Takeout and Delivery Market.

       121.     In short, in both the National Market and the Local Markets, a large proportion of

restaurants sell through Defendants’ platforms and are therefore bound by Defendants’ MFNs.

These MFNs essentially require that restaurants increase the prices that they charge to consumers

who buy directly from those restaurants, regardless of whether those consumers order for delivery,

takeout, or sit-down. In addition, the amount by which those restaurants must increase their prices

is driven by Defendants, who set the Restaurant Commission Rates. Defendants’ MFNs thus do

not merely increase the prices that a handful of restaurants charge to consumers in the Takeout and



                                                 31
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 32 of 51




Delivery Market and in the Sit-Down Market. Instead, in tandem with the Restaurant Commission

Rates, those provisions both drive and substantially affect the prices in the Takeout and Delivery

Market and the Sit-Down Market. The fact that Defendants are able to achieve such results

demonstrates that Defendants possess the ability to control prices in both the Takeout and Delivery

Market and the Sit-Down Market.

                  iv. The Substantial Anticompetitive Costs of Defendants’ MFNs Outweigh
                      Any Procompetitive Benefits

       122.    The anticompetitive costs of Defendants’ conduct, as shown, are substantial. As a

direct result of Defendants’ conduct, consumers are forced to pay supracompetitive prices for

goods from any restaurant that must use Defendants’ platforms; consumers and restaurants must

use Restaurant Platforms that offer inferior technology and service; and consumers are left with

fewer restaurants from which to choose.

       123.    Consistent with empirical research from economists regarding MFNs generally,

Defendants’ MFNs harm consumers and competition. Consumer prices fell, as just one example,

when European countries banned online travel agencies from using MFNs.

       124.    These substantial anticompetitive costs outweigh any procompetitive justification

Defendants may claim. Defendants’ MFNs, for example, do not protect Defendants from free-

riding. With very few exceptions, consumers who use Defendants’ platforms do so because the

platforms are convenient, not to find restaurants and then order directly from those restaurants.

The notion that such consumers would be willing to spend more time than necessary to place an

order for takeout or delivery is unreasonable and unsupported.

       125.    Similarly, these MFNs could not protect Defendants from free-riding with respect

to restaurants that rely on Defendants to provide delivery. A consumer cannot order from such




                                                32
          Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 33 of 51




restaurants directly for delivery. Accordingly, there is no risk that a consumer would use

Defendants’ platforms to find that restaurant and then order from that restaurant directly.

        126.    Just as fundamental, no rationale concerning free-riding could explain why

Grubhub and Uber’s MFNs prohibit restaurants from offering lower Restaurant List Prices on

competing Restaurant Platforms. Indeed, DoorDash’s ability to compete with Defendants without

such MFNs is proof that such restrictions are not necessary for Restaurant Platforms to offer

consumers the benefits of their platform.

        127.    In prohibiting restaurants from charging lower prices to consumers who purchase

directly from restaurants in the Sit-Down Market, moreover, Defendants’ MFNs control prices in

a market in which Defendants do not even participate. There can be no procompetitive justification

for this type of restraint.

                              CLASS INJURY AND STANDING

        128.    Plaintiffs and the Class have suffered injury of the type the antitrust laws were

intended to prevent and flows from that which makes Defendants’ act unlawful.

        129.    Plaintiffs and the Class allege that Defendants’ anticompetitive conduct has caused

them to pay supracompetitive prices. Such an injury is plainly of the type the antitrust laws were

intended to prevent.

        130.    Defendants’ misconduct has directly caused this injury to Plaintiffs and the Class.

Plaintiffs and the Class are naturally motivated to enforce the antitrust laws because they had and

have the natural economic self-interest in paying reasonable rather than supracompetitive prices.




                                                33
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 34 of 51




   V.      CLASS ALLEGATIONS

        131.   Plaintiffs bring this action on behalf of themselves and, under Rules 23(a) and (b)

of the Federal Rules of Civil Procedure, on behalf of three classes, several of which may comprise

subclasses, to be defined based on discovery.

        132.   The first class comprises all persons or entities in the United States who have

purchased goods, through a Restaurant Platform, from a restaurant subject to Grubhub’s or Uber’s

MFNs (the “Restaurant Platform Class”).

        133.   This first class, for some claims, concerns local markets in which the applicable

Defendant’s market share of the Restaurant Platform Market is approximately 30% or higher (the

“Monopolized Restaurant Platform Local Markets Class”). The Monopolized Restaurant Platform

Local Markets include, but are not limited to, New York City, Boston, Chicago, and Philadelphia

for Grubhub; and Miami, Houston, Dallas, Washington, D.C., and Atlanta for Uber.

        134.   The first class excludes any person or entity whose purchases through a Restaurant

Platform were solely from restaurants that sold exclusively through that Restaurant Platform.

        135.   The second class comprises all persons or entities in the United States who have

purchased goods, for takeout from or delivery by the restaurant, directly from a restaurant subject

to any Defendant’s MFNs (the “Takeout and Delivery Class”).

        136.   This second class, for some claims, concerns local markets in which the applicable

Defendant’s market share of the Takeout and Delivery Market is approximately 30% or higher

(the “Monopolized Takeout and Delivery Local Markets Class”). The Monopolized Takeout and

Delivery Local Markets include, but are not limited to, New York, Chicago, and Philadelphia for

Grubhub; Miami and Houston for Uber; and Los Angeles for Postmates.




                                                34
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 35 of 51




       137.       The third class comprises all persons or entities in the United States who have

purchased goods, for sit-down dining in the restaurant, from a restaurant subject to any

Defendant’s MFNs (the “Sit-Down Class”). This third class, for some claims, concerns the local

markets described in the preceding paragraph (the “Sit-Down Local Market Class”).

       138.       All foregoing classes exclude (i) Defendants, their officers, directors, management,

employees, subsidiaries, and affiliates and (ii) the Judge, his or her law clerks, spouse, and any

person within the third degree of relationship living in the Judge’s household and the spouse of

such a person.

       139.       Plaintiffs reserve the right to amend any of these class definitions if further

investigation, discovery, or both indicate that such definitions should be narrowed, expanded, or

otherwise modified.

       140.       The members of each class are so numerous that joinder of all members is

impracticable. The precise number of members of each class is unknown to Plaintiffs at this time,

but it is believed to be in the hundreds of thousands.

       141.       Defendants have acted on grounds that apply generally to the members of each

class, so that final injunctive relief is appropriate respecting each class as a whole.

       142.       Common questions of law and fact exist as to all members of each class and

predominate over any questions solely affecting individual members of each class. Such common

issues include:

           (a) Whether each Defendant has market power in the Restaurant Platform Market, the
               Takeout and Delivery Market, and the Sit-Down Market;

           (b) Whether each Defendant has monopoly power in the Restaurant Platform Market
               and the Takeout and Delivery Market, including in local markets;




                                                   35
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 36 of 51




           (c) Whether each Defendant’s MFN produces substantial anticompetitive effects,
               without procompetitive justification, in the Restaurant Platform Market, the
               Takeout and Delivery Market, and the Sit-Down Market;

           (d) Whether any procompetitive efficiencies from each Defendant’s MFN could be
               achieved through less anticompetitive means;

           (e) Whether each Defendant willfully acquired or maintained their monopoly power in
               the Monopolized Restaurant Platform Local Markets and the Monopolized Takeout
               and Delivery Local Markets;

           (f) Whether each Defendant implemented or maintained their MFN with the specific
               intent to monopolize the Monopolized Restaurant Platform Local Markets and the
               Monopolized Takeout and Delivery Local Markets;

           (g) Whether each Defendant had a dangerous probability of achieving monopoly power
               in the Monopolized Restaurant Platform Local Markets and the Monopolized
               Takeout and Delivery Local Markets; and

           (h) Whether, and to what extent, each Defendant’s MFN caused Plaintiffs to suffer
               antitrust injury.

       143.    Plaintiffs’ claims are typical of the claims of the other members of each class they

seek to represent. Defendants’ practices have targeted and affected all members of each class in a

similar manner, i.e., they have all sustained damages arising out of Defendants’ practices.

       144.    Plaintiffs will continue to fully and adequately protect the interests of the members

of each class. Plaintiffs have retained counsel competent and experienced in antitrust class actions.

Plaintiffs have no interests in conflict with those of any class.

       145.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable.

       146.    The prosecution of separate actions by individual members of each class would

impose heavy burdens upon the courts and would create a risk of inconsistent or varying

adjudications of the questions of law and fact common to the classes.




                                                  36
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 37 of 51




       147.    A class action, on the other hand, would achieve substantial economies of time,

effort, and expense, and would assure uniformity of decision with respect to persons similarly

situated without sacrificing procedural fairness or bringing about other undesirable results.

       148.    The interests of the members of each class in individually controlling the

prosecution of separate actions are theoretical rather than practical. The classes each have a high

degree of cohesion, and prosecution of the action through representatives would be

unobjectionable.    As the damages suffered by some of the individual class members may be

relatively small, the expense and burden of individual litigation makes it impossible for members

of each class to individually redress the wrongs done to them. Plaintiffs anticipate no difficulty in

the management of this action as a class action.

       149.    WHEREFORE, Plaintiffs request that the Court order that this action may be

maintained as a class action pursuant to Rules 23(a) and (b) of the Federal Rules of Civil Procedure,

that they be named Class Representatives, that Roche Cyrulnik Freedman LLP be named Lead

Class Counsel, and that reasonable notice of this action, as provided by Fed. R. Civ. P. 23(c)(2),

be given to each class.

                                     CLAIMS FOR RELIEF

                                              COUNT I
                             Violations of Section 1 of the Sherman Act
                          With Respect to the Restaurant Platform Market
                                (by the Restaurant Platform Class)
                                    (Against Grubhub and Uber)

       150.    Plaintiffs incorporate the allegations above.

       151.    At all times throughout the class period, Grubhub and Uber possessed market power

in the Restaurant Platform Market in both the National Market and the Local Markets.




                                                   37
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 38 of 51




        152.    This market power is demonstrated by Grubhub and Uber’s share of the Restaurant

Platform Market in these geographic markets, as well as, among other things, their ability to

profitably impose supracompetitive pricing on both restaurants and consumers in those markets.

        153.    Under section 1 of the Sherman Act, Grubhub and Uber’s MFNs constitute vertical

agreements with restaurants in restraint of trade or commerce among the several States.

        154.    Grubhub and Uber’s MFNs constitute unreasonable restraints of trade because they

have produced substantial anticompetitive effects in the Restaurant Platform Market in both the

National Market and Local Markets without procompetitive justification.

        155.    Grubhub and Uber’s MFNs have reduced price competition in these markets by

prohibiting restaurants from offering lower prices to consumers who order directly from

restaurants and by prohibiting restaurants from offering lower prices through competing

Restaurant Platforms.

        156.    As a direct and proximate result of Grubhub and Uber’s anticompetitive conduct,

Plaintiffs and each class have suffered pecuniary injury.

        157.    Under section 4 of the Clayton Act, Plaintiffs and each class are entitled to treble

damages and reasonable attorneys’ fees for these injuries.

        158.    Under section 16 of the Clayton Act, Plaintiffs and each class are also entitled to

injunctive relief.




                                                 38
           Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 39 of 51




                                         COUNT II
                         Violations of Section 1 of the Sherman Act
        With Respect to the Takeout and Delivery Market and the Sit-Down Market
               (by the Takeout and Delivery Class and the Sit-Down Class)
                                    (Against Defendants)

       159.    Plaintiffs incorporate the allegations above.

       160.    At all times throughout the class period, Defendants possessed market power in the

Takeout and Delivery Market and the Sit-Down Market in both the National Market and the Local

Markets.

       161.    This market power is demonstrated by Defendants’ ability to profitably impose

supracompetitive pricing on both restaurants and consumers in the Takeout and Delivery Market

and the Sit-Down Market in these geographic markets.

       162.    Under section 1 of the Sherman Act, Defendants’ MFNs constitute vertical

agreements with restaurants in restraint of trade or commerce among the several States.

       163.    Defendants’ MFNs constitute unreasonable restraints of trade because they have

produced substantial anticompetitive effects in the Takeout and Delivery Market and the Sit-Down

Market in both the National Market and Local Markets without procompetitive justification.

       164.    Defendants’ MFNs have reduced price competition in these markets by prohibiting

restaurants from offering lower prices to consumers who order directly from restaurants and, in

the case of Grubhub and Uber, prohibiting restaurants from offering lower prices through

competing Restaurant Platforms.

       165.    As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs

and each class have suffered pecuniary injury.

       166.    Under section 4 of the Clayton Act, Plaintiffs and each class are entitled to treble

damages and reasonable attorneys’ fees for these injuries.




                                                 39
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 40 of 51




        167.    Under section 16 of the Clayton Act, Plaintiffs and each class are also entitled to

injunctive relief.

                                          COUNT III
            Violations of State Antitrust Laws – Agreement in Restraint of Trade
                      With Respect to the Restaurant Platform Market
                              (by the Restaurant Platform Class)
                                 (Against Grubhub and Uber)

        168.    Plaintiffs incorporate the allegations above.

        169.    Grubhub and Uber have market power in the Restaurant Platform Market in the

National Market and Local Markets; their MFNs are anticompetitive agreements that unreasonably

restrain trade; and their anticompetitive conduct has proximately harmed Plaintiffs.

        170.    Such conduct violates the following state antitrust laws:

            a. Ala. Code § 6-5-60 et seq., which respect to purchases in Alabama;

            b. Alaska Stat. §§ 45.50.562, 45.50.576(a), (b), with respect to purchases in Alaska;

            c. Ariz. Rev. Stat. §§ 44-1401, et seq., with respect to purchases in Arizona;

            d. Ark. Code Ann. § 4-75-212(b), et seq., with respect to purchases in Arkansas;

            e. Cal. Bus. Code §§ 16700, et seq., and Cal. Bus. Code §§ 17200, et seq., with respect
               to purchases in California;

            f. D.C. Code Ann. §§ 28-4501, et seq., with respect to purchases in the District of
               Columbia;

            g. Fla. Stat. § 501.201, et seq., and Mack v. Bristol-Myers Squibb, 673 So. 2d 100,
               104 (Fla. Dist. Ct. App. 1996), with respect to purchases in Florida;

            h. Hawaii Code § 480, et seq., with respect to purchases in Hawaii;

            i. 740 Ill. Comp. Stat. 10/1 et seq., with respect to purchases in Illinois;

            j. Iowa Code §§ 553 et seq., with respect to purchases in Iowa;

            k. Kansas Stat. Ann. § 50-101, et seq., with respect to purchases in Kansas;

            l. Mass. Gen. Laws Ch. 93, § 1, et seq., with respect to purchases in Massachusetts;



                                                 40
Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 41 of 51




 m. Me. Rev. Stat. Ann. 10, §§ 1101, et seq., with respect to purchases in Maine;

 n. Mich. Comp. Laws Ann. §§ 445.772, et seq., with respect to purchases in Michigan;

 o. Minn. Stat. §§ 325D.49, et seq., with respect to purchases in Minnesota;

 p. Miss. Code Ann. § 75-21-1, et seq., with respect to purchases in Mississippi;

 q. Missouri Stat. § 416.011, et seq., with respect to purchases in Missouri;

 r. Neb. Code Ann. §§ 59-801, et seq., with respect to purchases in Nebraska;

 s. Nev. Rev. Stat. Ann. §§ 598A, et seq., with respect to purchases in Nevada;

 t. N.H. Rev. Stat. Ann. §§ 356:1, et seq., with respect to purchases in New Hampshire;

 u. N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases in New Mexico;

 v. N.Y. Gen. Bus. L. §§ 340, et seq., with respect to purchases in New York;

 w. N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases in North Carolina;

 x. N.D. Cent. Code §§ 51-08.1-01, et seq., with respect to purchases in North Dakota;

 y. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases in Oregon;

 z. P.R. Laws Ann. Tit. 10, § 257, et seq., with respect to purchases in Puerto Rico;

 aa. R.I. Gen. Laws § 6-36-1, et seq., with respect to purchases in Rhode Island;

 bb. S.D. Codified Laws Ann. §§ 37-1-3, et seq., with respect to purchases in South
     Dakota;

 cc. Tenn. Code Ann. §§ 47-25-101, et seq., with respect to purchases in Tennessee;

 dd. Utah Code § 76-10-3101, et seq., with respect to purchases in Utah;

 ee. Vt. Stat. Ann. tit. 9, § 2453, et seq., with respect to purchases in Vermont;

 ff. W. Va. Code §§ 47-18-1, et seq., with respect to purchases in West Virginia; and

 gg. Wis. Stat. §§ 133.01, et seq., with respect to purchases in Wisconsin.




                                      41
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 42 of 51




       171.    As a direct and proximate result of Grubhub and Uber’s anticompetitive conduct,

Plaintiffs and each class have suffered pecuniary injury.

       172.    Plaintiffs and each class are entitled to relief pursuant to the foregoing statutes.

                                         COUNT IV
           Violations of State Antitrust Laws – Agreement in Restraint of Trade
        With Respect to the Takeout and Delivery Market and the Sit-Down Market
                  (by the Takeout and Delivery Class and Sit-Down Class)
                                    (Against Defendants)

       173.    Plaintiffs incorporate the allegations above.

       174.    Defendants have market power in the Takeout and Delivery Market and the Sit-

Down Market in the National Market and Local Markets; Defendants’ MFNs are anticompetitive

agreements that unreasonably restrain trade; and Defendants’ anticompetitive conduct has

proximately harmed Plaintiffs.

       175.    Such conduct violates the following state antitrust laws:

           a. Ala. Code § 6-5-60 et seq., which respect to purchases in Alabama;

           b. Alaska Stat. §§ 45.50.562, 45.50.576(a), (b), with respect to purchases in Alaska;

           c. Ariz. Rev. Stat. §§ 44-1401, et seq., with respect to purchases in Arizona;

           d. Ark. Code Ann. § 4-75-212(b), et seq., with respect to purchases in Arkansas;

           e. Cal. Bus. Code §§ 16700, et seq., and Cal. Bus. Code §§ 17200, et seq., with respect
              to purchases in California;

           f. D.C. Code Ann. §§ 28-4501, et seq., with respect to purchases in the District of
              Columbia;

           g. Fla. Stat. § 501.201, et seq., and Mack v. Bristol-Myers Squibb, 673 So. 2d 100,
              104 (Fla. Dist. Ct. App. 1996), with respect to purchases in Florida;

           h. Hawaii Code § 480, et seq., with respect to purchases in Hawaii;

           i. 740 Ill. Comp. Stat. 10/1 et seq., with respect to purchases in Illinois;

           j. Iowa Code §§ 553 et seq., with respect to purchases in Iowa;



                                                 42
Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 43 of 51




 k. Kansas Stat. Ann. § 50-101, et seq., with respect to purchases in Kansas;

 l. Mass. Gen. Laws Ch. 93, § 1, et seq., with respect to purchases in Massachusetts;

 m. Me. Rev. Stat. Ann. 10, §§ 1101, et seq., with respect to purchases in Maine;

 n. Mich. Comp. Laws Ann. §§ 445.772, et seq., with respect to purchases in Michigan;

 o. Minn. Stat. §§ 325D.49, et seq., with respect to purchases in Minnesota;

 p. Miss. Code Ann. § 75-21-1, et seq., with respect to purchases in Mississippi;

 q. Missouri Stat. § 416.011, et seq., with respect to purchases in Missouri;

 r. Neb. Code Ann. §§ 59-801, et seq., with respect to purchases in Nebraska;

 s. Nev. Rev. Stat. Ann. §§ 598A, et seq., with respect to purchases in Nevada;

 t. N.H. Rev. Stat. Ann. §§ 356:1, et seq., with respect to purchases in New Hampshire;

 u. N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases in New Mexico;

 v. N.Y. Gen. Bus. L. §§ 340, et seq., with respect to purchases in New York;

 w. N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases in North Carolina;

 x. N.D. Cent. Code §§ 51-08.1-01, et seq., with respect to purchases in North Dakota;

 y. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases in Oregon;

 z. P.R. Laws Ann. Tit. 10, § 257, et seq., with respect to purchases in Puerto Rico;

 aa. R.I. Gen. Laws § 6-36-1, et seq., with respect to purchases in Rhode Island;

 bb. S.D. Codified Laws Ann. §§ 37-1-3, et seq., with respect to purchases in South
     Dakota;

 cc. Tenn. Code Ann. §§ 47-25-101, et seq., with respect to purchases in Tennessee;

 dd. Utah Code § 76-10-3101, et seq., with respect to purchases in Utah;

 ee. Vt. Stat. Ann. tit. 9, § 2453, et seq., with respect to purchases in Vermont;

 ff. W. Va. Code §§ 47-18-1, et seq., with respect to purchases in West Virginia; and




                                      43
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 44 of 51




            gg. Wis. Stat. §§ 133.01, et seq., with respect to purchases in Wisconsin.

        176.     As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs

and each class have suffered pecuniary injury.

        177.     Plaintiffs and each class are entitled to relief pursuant to the foregoing statutes.

                                         COUNT V
                Monopolization in Violation of Section 2 of the Sherman Act
            With Respect to the Monopolized Restaurant Platform Local Markets
              (by the Monopolized Restaurant Platform Local Markets Class)
                                (Against Grubhub and Uber)

        178.     Plaintiffs incorporate the allegations above.

        179.     At all times throughout the class period, Grubhub and Uber possessed monopoly

power in the Restaurant Platform Market in the Monopolized Restaurant Platform Local Markets.

        180.     Grubhub and Uber’s monopoly power enables them to profitably charge

supracompetitive prices to both restaurants and consumers and exclude competitors.

        181.     Grubhub and Uber have willfully acquired and maintained that power through

exclusionary conduct. In particular, Grubhub and Uber have utilized their MFNs to reduce price

competition in the Monopolized Restaurant Platform Local Markets and to discourage entry into

those markets.

        182.     As a direct and proximate result of Grubhub and Uber’s anticompetitive conduct,

Plaintiffs and each class have suffered pecuniary injury.

        183.     Under section 4 of the Clayton Act, Plaintiffs and each class are entitled to treble

damages and reasonable attorneys’ fees for those injuries.

        184.     Under section 16 of the Clayton Act, Plaintiffs and each class are also entitled to

injunctive relief.




                                                   44
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 45 of 51




                                         COUNT VI
           Attempted Monopolization in Violation of Section 2 of the Sherman Act
            With Respect to the Monopolized Restaurant Platform Local Markets
               (by the Monopolized Restaurant Platform Local Markets Class)
                                (Against Grubhub and Uber)

        185.    Plaintiffs incorporate the allegations above.

        186.    Grubhub and Uber have engaged in anticompetitive conduct with respect to the

Monopolized Restaurant Platform Local Markets.

        187.    Grubhub and Uber engaged in such anticompetitive with the specific intent of

monopolizing the Monopolized Restaurant Platform Local Markets. Grubhub and Uber’s conduct

indicates, for example, that they sought to reduce price competition, exclude existing competitors,

and discourage prospective competitors from entering those markets.

        188.    Grubhub and Uber had and have a dangerous probability of successfully

monopolizing the Monopolized Restaurant Platform Local Markets.

        189.     As a direct and proximate result of Grubhub and Uber’s anticompetitive conduct,

Plaintiffs and each class have suffered pecuniary injury.

        190.    Under section 4 of the Clayton Act, Plaintiffs and each class are entitled to treble

damages and reasonable attorneys’ fees for those injuries.

        191.    Under section 16 of the Clayton Act, Plaintiffs and each class are also entitled to

injunctive relief.




                                                 45
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 46 of 51




                                        COUNT VII
                Monopolization in Violation of Section 2 of the Sherman Act
           With Respect to the Monopolized Takeout and Delivery Local Markets
            (by the Monopolized Takeout and Delivery Local Markets Class and
                           by the Sit-Down Local Markets Class)
                                    (Against Defendants)

        192.     Plaintiffs incorporate the allegations above.

        193.     At all times throughout the class period, Defendants possessed monopoly power in

the Monopolized Takeout and Delivery Local Markets.

        194.     Defendants’ monopoly power enables them to profitably charge supracompetitive

prices to both restaurants and consumers and exclude competitors.

        195.     Defendants have willfully acquired and maintained that power through

exclusionary conduct.      In particular, Defendants have utilized their MFNs to reduce price

competition in the Monopolized Takeout and Local Delivery Markets and to discourage entry into

those markets.

        196.     As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs

and each class have suffered pecuniary injury.

        197.     Under Section 4 of the Clayton Act, Plaintiffs and each class are entitled to treble

damages and reasonable attorneys’ fees for those injuries.

        198.     Under Section 16 of the Clayton Act, Plaintiffs and each class are also entitled to

injunctive relief.




                                                  46
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 47 of 51




                                       COUNT VIII
           Attempted Monopolization in Violation of Section 2 of the Sherman Act
           With Respect to the Monopolized Takeout and Delivery Local Markets
            (by the Monopolized Takeout and Delivery Local Markets Class and
                           by the Sit-Down Local Markets Class)
                                    (Against Defendants)

        199.    Plaintiffs incorporate the allegations above.

        200.    Defendants have engaged in anticompetitive conduct with respect to the

Monopolized Takeout and Delivery Local Markets.

        201.    Defendants engaged in such anticompetitive with the specific intent of

monopolizing the Monopolized Takeout and Delivery Local Markets. Defendants’ conduct

indicates, for example, that they sought to reduce price competition, exclude existing competitors,

and discourage prospective competitors from entering those markets.

        202.    Defendants had and have a dangerous probability of successfully monopolizing the

Monopolized Takeout and Delivery Local Markets.

        203.     As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs

and each class have suffered pecuniary injury.

        204.    Under section 4 of the Clayton Act, Plaintiffs and each class are entitled to treble

damages and reasonable attorneys’ fees for those injuries.

        205.    Under section 16 of the Clayton Act, Plaintiffs and each class are also entitled to

injunctive relief.




                                                 47
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 48 of 51




                                           COUNT IX
                      Violation of State Antitrust Laws – Monopolization
              With Respect to the Monopolized Restaurant Platform Local Markets
                (by the Monopolized Restaurant Platform Local Markets Class)
                                  (Against Grubhub and Uber)

       206.    Plaintiffs incorporate the allegations above.

       207.    Grubhub and Uber possess monopoly power in the Monopolized Restaurant

Platform Local Markets and willfully acquired and maintained it through exclusionary conduct.

       208.    Such conduct violates at least the following state antitrust laws:

           a. D.C. Code Ann. §§ 28-4501, et seq., with respect to purchases in the District of
              Columbia;

           b. Fla. Stat. § 501.201, et seq., and Mack v. Bristol-Myers Squibb, 673 So. 2d 100,
              104 (Fla. Dist. Ct. App. 1996), with respect to purchases in Florida;

           c. 740 Ill. Comp. Stat. 10/1 et seq., with respect to purchases in Illinois;

           d. Mass. Gen. Laws Ch. 93, § 1, et seq., with respect to purchases in Massachusetts;
              and

           e. N.Y. Gen. Bus. L. §§ 340, et seq., with respect to purchases in New York.

       209.    As a direct and proximate result of Grubhub and Uber’s anticompetitive conduct,

Plaintiffs and each class have suffered pecuniary injury.

       210.    Plaintiffs and each class are entitled to relief pursuant to the foregoing statutes.

                                        COUNT X
              Violation of State Antitrust Laws – Attempted Monopolization
           With Respect to the Monopolized Restaurant Platform Local Markets
             (by the Monopolized Restaurant Platform Local Markets Class)
                               (Against Grubhub and Uber)

       211.    Plaintiffs incorporate the allegations above.

       212.    Grubhub and Uber engaged in anticompetitive conduct with the specific intent of

monopolizing the Monopolized Restaurant Platform Local Markets and had and have a dangerous

probability of successfully monopolizing those markets.



                                                 48
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 49 of 51




       213.    Such conduct violates at least the following state antitrust laws:

           a. D.C. Code Ann. §§ 28-4501, et seq., with respect to purchases in the District of
              Columbia;

           b. Fla. Stat. § 501.201, et seq., and Mack v. Bristol-Myers Squibb, 673 So. 2d 100,
              104 (Fla. Dist. Ct. App. 1996), with respect to purchases in Florida;

           c. 740 Ill. Comp. Stat. 10/1 et seq., with respect to purchases in Illinois;

           d. Mass. Gen. Laws Ch. 93, § 1, et seq., with respect to purchases in Massachusetts;
              and

           e. N.Y. Gen. Bus. L. §§ 340, et seq., with respect to purchases in New York.

       214.    As a direct and proximate result of Grubhub and Uber’s anticompetitive conduct,

Plaintiffs and each class have suffered pecuniary injury.

       215.    Plaintiffs and each class are entitled to relief pursuant to the foregoing statutes.

                                        COUNT XI
                    Violation of State Antitrust Laws – Monopolization
           With Respect to the Monopolized Takeout and Delivery Local Markets
            (by the Monopolized Takeout and Delivery Local Markets Class and
                           by the Sit-Down Local Markets Class)
                                    (Against Defendants)

       216.    Plaintiffs incorporate the allegations above.

       217.    Defendants possess monopoly power in the Monopolized Takeout and Delivery

Local Markets and willfully acquired and maintained it through exclusionary conduct.

       218.    Such conduct violates at least the following state antitrust laws:

           a. Cal. Bus. Code §§ 16700, et seq., and Cal. Bus. Code §§ 17200, et seq., with respect
              to purchases in California;

           b. Fla. Stat. § 501.201, et seq., and Mack v. Bristol-Myers Squibb, 673 So. 2d 100,
              104 (Fla. Dist. Ct. App. 1996), with respect to purchases in Florida;

           c. 740 Ill. Comp. Stat. 10/1 et seq., with respect to purchases in Illinois; and

           d. N.Y. Gen. Bus. L. §§ 340, et seq., with respect to purchases in New York.




                                                 49
         Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 50 of 51




       219.   As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs

and each class have suffered pecuniary injury.

       220.   Plaintiffs and each class are entitled to relief pursuant to the foregoing statutes.

                                        COUNT XII
              Violation of State Antitrust Laws – Attempted Monopolization
          With Respect to the Monopolized Takeout and Delivery Local Markets
           (by the Monopolized Takeout and Delivery Local Markets Class and
                           by the Sit-Down Local Markets Class)
                                    (Against Defendants)

       221.   Plaintiffs incorporate the allegations above.

       222.   Defendants engaged in anticompetitive conduct with the specific intent of

monopolizing the Monopolized Takeout and Delivery Local Markets and had and have a

dangerous probability of successfully monopolizing those markets.

       223.   Such conduct violates at least the following state antitrust laws:

           a. Cal. Bus. Code §§ 16700, et seq., and Cal. Bus. Code §§ 17200, et seq., with respect
              to purchases in California;

           b. Fla. Stat. § 501.201, et seq., and Mack v. Bristol-Myers Squibb, 673 So. 2d 100,
              104 (Fla. Dist. Ct. App. 1996), with respect to purchases in Florida;

           c. 740 Ill. Comp. Stat. 10/1 et seq., with respect to purchases in Illinois; and

           d. N.Y. Gen. Bus. L. §§ 340, et seq., with respect to purchases in New York.

       224.   As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs

and each class have suffered pecuniary injury.

       225.   Plaintiffs and each class are entitled to relief pursuant to the foregoing statutes.

                                DEMAND FOR JURY TRIAL

       226.   Plaintiffs respectfully demand a jury trial.




                                                 50
        Case 1:20-cv-05134-LAK Document 1 Filed 07/06/20 Page 51 of 51




                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request the following relief:

   (a) Determine that this action may be maintained as a class action pursuant to Fed. R. Civ. P.
       23(a) and (b)(3) and direct that reasonable notice of this action, as provided by Fed. R. Civ.
       P. 23(c)(2) be given to the classes;

   (b) Require Defendants to pay for sending notice to the certified classes;

   (c) Appoint Plaintiffs as Class Representatives and Plaintiffs’ counsel as Class Counsel;

   (d) Issue an injunction to enjoin Defendants from continuing to engage in the anticompetitive
       conduct alleged in this Complaint;

   (e) Award compensatory damages to Plaintiffs and the proposed classes in an amount to be
       established at trial;

   (f) Award treble damages as permitted by law;

   (g) Award pre- and post-judgment interest;

   (h) Award reasonable attorneys’ fees and costs; and

   (i) Award any other and further relief as may be just and proper.


Dated: July 6, 2020
                                                       /s/ Kyle W. Roche
                                                      Kyle W. Roche
                                                      Edward Normand
                                                      Stephen Lagos
                                                      ROCHE CYRULNIK FREEDMAN LLP
                                                      99 Park Avenue, 19th Floor
                                                      New York, NY 10016
                                                      kyle@rcfllp.com
                                                      tnormand@rcfllp.com
                                                      slagos@rcfllp.com

                                                       Attorneys for Plaintiffs




                                                51
